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CITA TroN

 

C'tise: 00073{25

Division: 3

26"' .Iudtc¢'ui Districr Cocrrt
Parish of Webster

Staie of Lom'.\'iano

HENDERSON, RITA - ETAL

Versus '

 

NEXIO'N HEALTHAT MiNDEN INC DBA - ETAL

 

THE STATE OF.` LOUIS]ANA TO.‘
NEXION HEAL TH A TMINDEN iNC
D/B/A
MEADOWVIEWHEALTH & REHAB!LITA TION CENTER
THROUGH ITS AGENT FOR SER V]CE OF PROCESS
C.T. CORPORA TION SYSTEM
56!5 CORPORA TE BOULEVARD
SU!TE 400}3
B/! TON ROUGE, LA 70808

You are hereby cited to comply with the demand contained in the petition o certified copy of which
accompanies this citation or tofiie your answer or other pleading to Soid petition in the office ofthe Clerk of
the TWeni_y-Sixth Jua'iciol Disfrict Coui't in the Webster Parr`sh Court.Hoe¢se in the city ofMinden in said Pari.sh
wiihinji`j?een (15) days after the Service hereof Yow'fciilure to comply herewith will subject you to the penalty
ofen!ry ofdefouitjudgmeni against you.

 

WI'I`NESS. the Honorobie Judges of said court on J'une~_$J 2013 at Minden, Louisiono.

\VM\i…/Ac') `

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Hoilz' Vinz'ng, Clerk ofCour!

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Service Infurmation

Personal Servic€

Domiciliary Service _ Given to:

 

N<) Scrvice ~ Reason:

 

Service Fee $

 

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Date oi`Sewicr.=. Deputy Shol'iff . Parish

 

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Case 5:.,_1§-cV-02156-TS-I\/|LH Document 1-2 Filed 06/28/13 Page 2 of 5 Page|D #: 6

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RITA HENDERSoN, ET AL 'Ei’~li`)i:ena z_)?)!

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vs . `\-~__i

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26th JUDICIAL DISTRICT COURT
NEXION HEALTH AT MINDEN, INC.,

d/b/a MEADOWVIEW HEALTH 5
REHABILITAEION CENTER WEBSTER RARISH, LOUISIANA

PETITION FDR DAMA S

 

The petition of RITA HENDERSON, a resident of and
domiciled in vallejo, caiifdrnia, JAMES HENosRsoN, a resident of
and domiciled in Stockton, California, and CHESTER HENDERSON, a
resident of and domiciled in Richmond, California, with respect
represents:

l.

That made defendant herein is NEXION HEALTH AT MINDEN,
INC., d/b/a MEADOWVIEW`HEALTH & REHABILITATION CENTER, a foreign
corporation authorized to do and doing business in the State of
Louieiana, having appointed C. T. CORPORATION SYSTEM, 5615
CORPORATE BOULEVARD, SUITE QGOB, BATON ROUGE, LA 70808, as its
agent for service of process.

2.

Thet petitioners are the sole eurvivinq children and

heirs of WEBSTER HENDERSON, deceased.
3.

That Webeter Henderson was admitted to Meadowview Health
& Renabilitation Center in Minden, Webster Parieh, Louisiana, on
October 3, 200?, for residential care and continued to reside there
until on or about April 8, 2008.

4.

Petitionere allege upon information `and belief that
during the time their father resided at the nursing home,
defendant's agente, eervants and/or employees were guilty of fault

and/or negligence in the care provided to him, in the following

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non-exclusive particulare, to-wit:

 

 

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In failing to perform a proper and complete
assessment of Webster Henderson's dental condition
upon admission and to be aware that he was wearing
dentures;

In failing to provide dental care every shift and
PRN, as required by the Care Plan dated 12/1/2007
prepared by Meadowview Health & Rehahilitation
Center;

In failing to discover that the bottom plate of his
dentures had become lodged in the back of his
throat, as the result of which his oxygen level
dropped, he was unable to swallow, and he developed
dehydration, malnutrition and aspiration before he
was sent to Minden Medical Center on December 16,
2007;

In failing to exercise the reasonable and necessary
care toward Webster Henderson that his particular
condition reasonably required;

In failing to provide the proper care and treatment
to insure that Webster Henderson did not develop
decubitus ulcers, as the result Of which he
developed a Stage IV decubitus ulcer on his coccyx
which had to be debrided during his admission to
Minden Medical Center on 12/16/200?;

In failing to provide the proper care and treatment
after he was discharged from the skilled nursing
facility and returned to a room in the regular part
of the nursing home on 4/1/2008, as the result of
which he developed the following conditions, to-wit:

(l) Severely dehydration;
(2) Malnutrition;

{3) Acute renal failure, which his physician
attributed to the dehydration:

(4) Anemia: and

(5) State IV decuhitus ulcer on his sacrum/coccyx,
which had to be debrided;

In failing to follow orders to monitor the amount of
urine being produced and to report it to his
physician;

In‘ failing' to properly care for and treat» the
decubitus ulcer on Webster Henderson's coccyx after
he returned to the nursing from Lifecare in early
2008, as the result of which the condition of the
ulcer never healed and had to again be debrided

following the admission to Minden Medical Center on
4/10/2008;

 

 

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id In failing to exhibit the care, knowledge, and skill
ordinarily exhibited by a nursing home caring for an
individual such as Webster Henderson;

j) In failing to maintain accurate and complete records
reflecting the care provided and/or to be provided
to webster Henderson;

k) Other acts of fault and/or negligence to be shown
more fully at the trial hereof.

5.

Petitioners show that Webster Henderson died January 27,
2011, of natural causes unrelated to the injuries he sustained at
Meadowview Health a Rehabilitation Center.

6.

Prior to his death, Webster Henderson filed a claim with
the Patient's Compensation Fund of the State of Louisiana,
asserting a claim against the defendant herein. The Medical Review
Panel rendered its decision on February 20, 2013, and its Opinion
was mailed by the Chairman of the Medical Review Panel by letter
dated February 281 2013, and received by petitioners' undersigned
counsel on March l, 2013.

7.

This Petition for Damages is timely since it is being
filed within ninety {90) days of receipt of the Opinion of the
Medical Review Panel.

8.

Petitioners show that as the only children and sole heirs
at law of their deceased father, Webster Henderson, they are the
proper parties to assert this claim for the damages sustained by

Webster Henderson as a result of the actions of the defendant

nursing home.

 

 

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9.

Petitioners are, therefore, entitled to such damages as
are reasonable in the premises for the pain and suffering,
disability, mental anguish, loss of enjoyment of life and medical
expenses incurred by Webster Henderson.

WHEREFORE, petitioners pray that the defendant be duly
served with a copy of this petition and cited to appear and answer
same; that after all due delays and legal proceedings had, there be
judgment herein in favor of petitioners, RITA HENDERSON, JAMES
HENDERSON and CHESTER HENDERSON, and against the defendant, NEXION
HEALTH AT MINDEN, INC., d/b/a MEADOWVIEW HEALTH & REHABILITATION
CENTER, for such damages as are reasonable in the premises,
together with legal interest thereon from date of judicial demand,
until paid, and all costs of these proceedings.

FURTHER PRAY for all orders and decrees necessary; for
general and equitable relief.

WILLIAM D. HALL, P.L.C.
(A PROFESSIONAL LAW CORPORATION)

823 SHREVEPORT-BARKSDALE HIGHWAX
SHREVEPORT, LA, 71105

TELEPHONE: {313) 868-1246

TELECOPIER: {313) 868-1244
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BY:

 

virLLIAM D. HALL'
ann RoLL No. 0644";

ATTORNEY FOR PETITIONERS.

SERVICE INSTRUCTIONS:

SERVE THE DEFENDANT, NEXION HEALTH AT MINDEN, INC., d/b/a
MEADOWVIEW HEALTH & REHABILITATION CENTER, through its agent for
service of process, C. T. CORPORATION SYSTEM, 5615 CORPORATE
BOULEVARD, SUITE dOOB, BATON ROUGE, LA 70808.

